                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

TENNESSEE CONFERENCE of the                        )
NATIONAL ASSOCIATION for the                       )
ADVANCEMENT of COLORED                             )
PEOPLE, et al.,                                    )
                                                   )        NO. 3:20-cv-01039
     Plaintiffs,                                   )
                                                   )        JUDGE CAMPBELL
v.                                                 )        MAGISTRATE JUDGE FRENSLEY
                                                   )
WILLIAM LEE, et al.,                               )
                                                   )
     Defendants.                                   )


                                              ORDER

         On July 30, 2024, the Court ordered the parties to “file supplemental briefs, not to exceed

ten pages in length, addressing how, if at all, the July 2023 policy changes and any changes

identified by the State in response to this Order affect the class certification analysis.” (Doc. No.

273). In accordance with the Court’s Order, the parties filed their respective supplemental briefs

on August 14, 2024. (See Doc. Nos. 283, 284).

         The Court has reviewed the parties’ briefs and finds that Defendants’ filing does not

comply with the Court’s Order in that it fails to address “how, if at all, the July 2023 policy changes

and any changes identified by the State in response to this Order affect the class certification

analysis.” (See Doc. No. 284). Defendants’ brief does not mention the Division of Elections’ policy

changes (Doc. No. 151-5; Doc. No. 151-6; Doc. No. 151-7; Doc. No. 274-1) or the TDOC’s policy

changes (Doc. No. 274-2), let alone address how, if at all, those changes affect the class

certification analysis. Instead, Defendants argue against class certification entirely, a topic the




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Court’s July 30, 2024 Order did not ask the parties to address. Accordingly, the Clerk is

DIRECTED to strike Defendants’ noncompliant brief (Doc. No. 284) from the record.

      It is so ORDERED.

                                                ___________________________________
                                                WILLIAM L. CAMPBELL, JR.
                                                CHIEF UNITED STATES DISTRICT JUDGE




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